                Case 17-12030-LMI       Doc 109     Filed 03/08/22    Page 1 of 3



                          UNITE,D STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA


 IN RE
                                                         Case   No. 17-12030-LMI
 Michael Russel Day                                      Chapter 13
 Janice Camille Diana Hanis Day,

              Debtors



                                     NOTICE       F'F'ILING

       Nancy K. Neidich, Standing Chapter 13 Trustee, by and through her undersigned counsel,
submits this Notice of Filing of payments disbursed to U.S. Bank Trust, N.A.


                                                    Respectfully submitted   :

                                                    NeNcv K. NeIotcH,
                                                    Standing Chapter 13 Trustee

                                                Bv: /s/ Kenia Molina
                                                    KENIA MOLINA, ESQ.
                                                    FLORIDA BARNO: 0085156
                                                    P.O. BOX 279806
                                                    MIRAMAR,FL 33027
Dated: l/bltq-                                      (9s4) 443-4402


                                 CERTIFICATE OF SERVICE
         I certiff that atrue and conect copy of the foregoing was served via CM/ECF to Debtors'

Counsel

                                                    By :lsl Kenia Molinct
                                                    KENIA MOLINA, ESQ.
                                                    FLORIDA BARNO: 0085156
                                                    P.O. BOX 279806
                                                    MIRAMAR,FL 33027
Dated:    1l W lnn                                   (9s4) 443-4402
                                 Case 17-12030-LMI            Doc 109          Filed 03/08/22       Page 2 of 3
                                                                                                                        Friday, March 4,2022
  Case Overview
                                              Michael Russel Day                                                                     11:22 am
          Case No.17-12030-LMl
          ACTIVE                              Janice Camille Dana Harris Day                                                    User: vanessa


DISBURSEMEI{T HISTORY

DATE             CODE      DESCRIPTION                                                     CREDITOR#              CHECKNO.            AMOUNT
RUSHMORE LOAN MGMT SVCS                                         Claim Num ber 14
Apr 09,   20'18 CRP        REFUND FROM CREDIOR/FRINCIPLE                                   4001 91                000361 7400           -328.72
Apr 18,2018 SDCP           CREDITOR PAYMENT (FRIN)                                         400191                 069491 B               200.63
May 15, 2018 SDCP          CRED|TOR   PAYMEM (FRhI)                                        4001 91                0697964                109.57
Jun 14,2018 SDCP           CREDITOR   PAYMEM (FRIN)                                        4001 91                0701 035               219,15
Sep13,2018 SDCP            ffiEDfTORPAYMENT(FRIN)                                          4001 91                0710111              1,462.05
TOTAL FOR RUSHM ORE LOAN M GM T SVCS                                                                                                   1,662.68

U.S. BANKTRUST NATIOl.lAL ASSOCIATION                           Claim Num ber 14
Oct 17,2018    SDCP        CREDTOR PAYMEwI (PRIN)                                                                 071 1 939              587.52
Nov 15, 2018   SDCP        CREDTOR PAYMEI{I (FRlNl)                                                               0715032                136.05
Dec 13, 2018   SDCP        CREDIIORPAYMEM(FRIN)                                                                   071 8051               230.79
 Jan 17,2Q19 SDCP          CREDTOR PAYMEM (FRIND                                                                  0720955                206.57
Feb14,2019 SDCP            CREDIORPAYMENT(FRIN)                                                                   0723945                 193.45
I'lar 14,2019 SDCP         CREDIOR PAYMEM (FRIN)                                                                  0726758                 187.10
 Apr 17,2019 SDCP          CREDIOR PAYMEM (FRIN)                                                                  0729640                 184.48
It/ay 16, 2019 SDCP        CREDIORPAYMEM(FRIN)                                                                    0732633                 181 .85

 Jun 14,2019 SDCP          CREDIOR PAYMENT (FRIN)                                                                 0735476                  91 .75

Ju|16,2019 SrcP            CREDIIORPAYMENT(FRIN)                                                                  0738238                 183.50
hc 17,2019 SrcP            CREDIOR PAYMENT (FRIN)                                                                 0752962               1,511.24
Jan 16, 2020 SDCP          CREDIIOR PAYMENII (FRll$                                                               0755948                232.34
Feb 14,2020 SDCP           CREDITOR PAYMBVI (PRlNl)                                                               0758957                181 .96

Itltar 17,202Q SDCP        CREDTIORPAYMENII(FRlNl)                                                                0761 895                155.86
 Apr 16,2020 SDCP          CREDIrOR PAYMENT (FRIN)                                                                0764782                 164.31
 lun 17,202Q SrcP          CREDIOR PAYMEM (FRIN)                                                                  0769922                 133.46
 Jut 15,2020 SDCP          CREDTTOR   PAYMEM (FRIN)                                                               0772593                 133.46
 Au112,202Q SDCP           CREDTORPAYMEM(FRIN)                                                                    0775214                  66.73
Sep16,2020 SDCP            CREDIORPAYMEM(FRIN)                                                                    0777763                 133.45
Oct 14,202Q SDCP           CREDTOR PAYMEM (PRINI)                                                                 0780412                 133.46
Nov 18, 2020 SDCP          CREDIIOR PAYMENT (FRIN)                                                                0783088                 133.46
TOTAL FOR U,S, BANKTRUST NATIOML ASSOCIATION                                                                                            5,162.79

US BANKTRUST N.A.                                               Claim Number 14
bc 11,2020 SDCP            CREDIOR PAYMEIII (PRIN)                                                                07852S3                 133.45
 Jan 14,2021 SDCP          CREDTTOR PAYMENT (FRIN)                                                                0787750                 133.46
Feb 18, 2021 SDCP          CREDT|OR   PAYMEM (FRIN)                                                               0790401                 142.97
tvlE.r 17,2021 SDCP        CREDITORPAYMEM(FRIN)                                                                   07931 59                 67.27
 Apr 14,2021 SDCP          CREDIIORPAYMEM(FRIN)                                                                   0795564                 133.45
tthy 13,2021 SDCP          CREDIORPAYMEM(FRIN)                                                                    0798123                 142.45
 Jun 17 ,2021 SDCP         CREDTOR PAYMENII (FRIN)                                                                0800693                 114.39
 Jul 14,2021 SDCP          CREDTOR PAYMET{I (FRIN)                                                                0803464                  74.27
 Aus 17,2021 SDCP          CREDTIOR PAYMENII (PRIN)                                                               0805790                 147.92
Sep 15, 2021 SDCP          CREDIIORPAYMET{I(FRINI)                                                                0808564                  73.96
Oc|14,2021 SDCP            CREDTTORPAYME II(PRINI)                                                                081 1085                161.41
Nov 18,2021 SDCP           CREDIORPAYMEwI(FRIN)                                                                   081 3716                114.39
hc 16,2021 SDCP            CREDIOR PAYMEIII (FR|N|                                                                0816406                 114.39
 Jan 13,2022 SDCP          CREDIOR PAYMEM (FRIN)                                                                  0818847                  76.58
Feb 17,2022 SDCP           CREDTOR PAYMEM (PRIN)                                                                  0821281                  37.81
TOTAL FORUS BANKTRIJST N.A.                                                                                                             1,668.17
WH.LS FARGO BANKNA                                              Claim Num ber 14
Aug 15,2017 SDCP           CREDTOR PAYMENT (FRIN)                                          377435                 0670744                 849.63
Sep 15, 2017SDCP           CREDIIORPAYM$.II(PRll-'D                                        377435                 0673936                 192.00
Oct 18,2017 SDCP           CREDIOR PAYMENT (FRIN)                                          377435                 0677082                 192.01
Nov 14, 2017SDCP           CREDIOR PAYMENII (FRIN)                                         377435                 0680003                 177.56
bc 14,2017 SDCP            CREDTOR PAYMEM(PRll$                                            377435                 0683121                 176.45
Jan 12,2018 SDCP           CREDIOR PAYME|II (PRIN)                                         377435                 0686084                 176.45
Mar 14,2018 SDCP    CRED||OR PAYMEM (PRIN)                                                 377435                 06921 38                328.72
TOTAL FORWELLS FARGO BANKNA                                                                                                             2,093.22

                                                                                         DISzuRSEMEI{T TOTAL                           10,586.86




  BSS Case    Overview (Rev. 0710712016)
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                                                                                                                         Friday, l\ilarch 4. 2022
  Case Overuiew
                                                                                                                                       11:09 am
          Case No.17-12030-LMl                 Michael Russel Day
                                               Janice Camille Dana Harris DaY                                                     User: vanessa
          ACTIVE

DISBURSEIVI ENT HISTORY

DATE             CODE      DESCRIPTION                                                     CREDITOR#                CHECKNO.            AMOUNT

RUSHMORE LOAN MGMT SVCS                                          Claim Number 13
                                                                                                                                         -2,226.52
Apr 09,  2018 CRP          REFUND FROM CREDIOFUFRINCIPI-E                                  4001 91                  000361 7400
                                                                                                                                          1,358.96
AprlB,2018 SDCP            CREDIORPAYMENT(PRIN)                                            4001 91                  0694918
                                                                                                                                            742.17
It/ay 15, 2018 SDCP        CREDTTORPAYMEM(FRIN)                                             400191                  0697964
                                                                                                                                          1,484.35
Jun 14,2018 SDCP     CREDIOR PAYME|II (FRIN)                                                4001 91                 0701 035
                                                                                                                                          3,500.21
Sep13,2018 SDCP      CRED|TORPAYMEM(FRIN)                                                   4001 91                 0710111
                                                                                                                                          4,859.17
TOTAL FOR RUSHMORE LOAN MGMT SVCS
U.S. BANKTRUST     MTIONAL ASSOCIATION                           Claim Num ber   '13
                                                                                                                                          2,051.42
oct17,   2018 SDCP         CREDffOR PAYMENT (FRIN)                                                                  071 1939
          2018 SDCP        CREDIIORPAYMENII(PRIN)                                                                   0715032                 729.59
Nov 15,
                                                                                                                                          1,490.81
Dec 13,2018 SDCP           CREDIIORPAYMEM(FRIN)                                                                     071 8051
                                                                                                                                          1,509.36
Jan 17,2019 SDCP           CREDTTOR   PAYMEM (PRlNl)                                                                0720955
Feb 14, 2019 SDCP                                                                                                   0723945                    ,519.40
                                                                                                                                          1
                           CREDIIOR PAYMENT (FRIN)
                                                                                                                                          1,524.26
tAar 14,2019 SrcP          CREDIOR PAYMENII (FRlt{)                                                                 0726758
                                                                                                                                          1,526.26
Apr 17,2019 SDCP           CREDIIORPAYMENT(FRIN)                                                                    0729640
                                                                                                                                          1,511.93
tt/ay 16, 2019 SDCP        CREDTORPAYMEM(PRIN)                                                                      0732633
Jun 14,2019 SDCP           CREDIOR PAYMENT (FRIN)                                                                   0735476                    763.51
                                                                                                                                          1,527.02
Jul 16, 2019 SDCP          CREDIOR PAYMEM (FRIN)                                                                    0738238
                                                                                                                                          7,350.53
hc 17,2019 SDCP            CRmnORPAYMEM(FRIN)                                                                       0752962
                                                                                                                                          1,614.62
Jan 16,2020 SDCP           CREDIOR PAYMENII (FRIN)                                                                  0755948
                                                                                                                                          1,648.99
Feb 14,2020 SDCP           CREDIOR PAYMEM (FRIN)                                                                    0758957
It/r'r 17,2020 SDCP                                                                                                 0761 895                   ,666.81
                                                                                                                                           1
                           CREDTOR PAYMEM (PRINI)
                                                                                                                                           1,906.33
Apr 16,2020 SDCP           CREDTTORPAYMEM (FRIN)                                                                    0764782
                                                                                                                                           1,601.24
Jun 17,2020 SDCP           CREDIOR PAYMEM (FRIN)                                                                    0769922
                                                                                                                                           1,601 .24
Jul 15, 2020 SDCP          CREDTOR PAYMEM (FRIN)                                                                    0772593
                                                                                                                                               800.62
 Aug 12,2020 SDCP          CREDIIOR PAYMENIT (FRIN)                                                                 0775214
                                                                                                                                           1,601 .24
Sep'16, 2020 SDCP          CREDTTORPAYMENT(PRIN)                                                                    0777763
                                                                                                                                          1,601.24
Oct 14,2020 SrcP           CREDTOR PAYMEM (PRlNl)                                                                   0780412
                                                                                                                                          1,601.24
Nov 18, 2020 SDCP          CREDI-I-OR PAYMEM (FRIN)                                                                 0783088
                                                                                                                                         37,147.66
TOTAL FORU.S. BANKTRUST MTIONAL ASSOCIATION
US BANKTRUST N,A,                                                 Claim Num ber 13
                                                                                                                                           1,601.24
hc 11,2020 SDCP            CREDIOR PAYMEM (PRIN)                                                                    0785293
                                                                                                                                           1,601.24
 Jan 14,2021 SDCP          CREDIOR PAYMEM (PRIN)                                                                    0787750
                                                                                                                                           1,715.40
Feb 18,2021 SDCP           CREDITOR PAYMEM (FRlt!)                                                                  0790401
                                                                                                                                             807.08
l,tar 17,2021 SDCP         CREDIIOR PAYMENI (FRIN)                                                                  07931 59
                                                                                                                                           1,601 .24
 Apr 14,2021 SDCP          CREDIIOR PAYMEM (FRIN)                                                                   0795564
                                                                                                                                           1,709.09
lt/e,y 13,2021 SDCP        CREDIIORPAYMH{T(FRIN)                                                                    0798123
                                                                                                                    0800693                1,372.47
 Jun 17,2021 SDCP          CREDIOR PAYMENII (FRIN)
                                                                                                                    0803464                     891        3
 Ju|14,2021 SrcP           CREDIOR PAYMEM (PRIN)
                                                                                                                                                      .1

                                                                                                                    0805790                1,774.71
 Aug 17,2Q21 SDCP                 PAYMEM
                           CREDT|OR            (FRINI)
                                                                                                                    0808564                  887.35
Sep 15,2021 SDCP           CREDIORPAYMEM(PRIN)
                                                                                                                    081 1 085              1,936.69
Oct 14,2021 SDCP           CREDIOR PAYMENI (FRIN)
                                                                                                                    0813716                1,372.47
Nov 18, 2021 SDCP          CREDIIORPAYMENII(FRIN)
                                                                                                                    0816406                1,372.47
Wc 16,2021 SDCP            CREDIIOR PAYMENI (FRIN)
                                                                                                                    081 8847                 918.80
 Jan 13,2022 SDCP          CREDIOR PAYMEM (PRIN)
                                                                                                                    0821281                     453.67
Feb 17,2022 SDCP           CREDTOR PAYMEM (PRINI)
                                                                                                                                          20,015.05
TOTAL FORUS BANKTRUST N.A.
WE.LS FARGO BANKM                                                 Claim Number 13
                                                                                                                    0670744                5,754.85
Aus   15,2017 SDCP         CREDIOR PAYMEVI (FRIN)                                           377435
                                                                                                                    0673936                1,300.49
Sep 15, 2017   SDCP        CREDIOR PAYMENII (PRlt$                                          377435
                                                                                                                                           1,300.52
               SDCP                                                                         377435                  0677082
Oct 18,2017                CREDfFOR   PAYMEM (PRIN)
                                                                                                                    0680003                1,205.42
Nov 14,2017    SDCP        CREDTORPAYMENT(FRIN)                                             377435
                                                                                                                                           1,195.16
                                                                                                                    06831 21
hc 14,2017 SDCP            CRmmOR PAYMEM (FRIN)                                             377435
                                                                                                                     0686084               1 ,'t 95.16
 Jan 12,2018 SDCP          CREDIOR PAYMENII (PRIND                                          377435
                                                                                                                     06921 38              2,226.52
l,ltar 14,2018 SDCP        CRED||ORPAYMB{T(FRIN)                                            377435
                                                                                                                                          14,178.12
TOTAL FORWILS FARGO BANKM
                                                                                          DISBURSEMEI.IT TOTAL                            76,200.00




  BSS Case Overview (Rev. 07/07/2016)
